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1                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
2                               PENSACOLA DIVISION
3
4        STATE OF FLORIDA,
5              Plaintiff,
6        vs.                                        Civil Action No.
                                                    3:21-cv-01066
7        THE UNITED STATES OF AMERICA,
         et al.,
8
               Defendants.
9
       ________________________________
10
11
12                                DEPOSITION OF
13              STATE OF FLORIDA DEPARTMENT OF CORRECTIONS,
         by and through its designated corporate representative,
14                               KIMBERLY THOMAS
15                       Taken on behalf of Defendants
16
17             DATE TAKEN:     July 6, 2022
               TIME:           11:23 a.m. - 12:33 p.m.
18             PLACE:          By videoconference
19
20                 Examination of the witness taken before:
21                              Bobbie A. Umstead
                        Registered Professional Reporter
22                       Florida Professional Reporter
23
24
25     Job No. CS5298271

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1      shows up at the border and is admitted as a permanent

2      resident, an applicant for admission is somebody who

3      comes to seek entry to the United States without a

4      pre-existing status or visa.           And so, you know, they

5      come to the border or to another port of entry and

6      essentially ask for admission under, you know, a variety

7      of means.     Maybe they are requesting a visa or maybe

8      they are seeking asylum or other types of protection

9      from removal.

10                  Does that make sense?

11           A      Yes, it makes sense.

12           Q      Okay.    Does ICE provide to the Florida

13     Department of Corrections any information about a

14     non-citizen's status as an applicant for admission?

15           A      No, sir.

16           Q      Okay.    Does the Department of Corrections,

17     independently of ICE, have any information about a

18     non-citizen's status as an applicant for admission?

19           A      No, sir.

20           Q      This case also concerns a subcategory, even,

21     of applicants for admission, and those are ones who are

22     released from the custody of ICE, whether on parole or a

23     different type of release mechanism.

24                  Does that make sense?

25           A      Can you repeat that?

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1            Q      Sure.

2                   So among the overall category of applicants

3      for admission, there are also some applicants for

4      admission who are released from immigration detention,

5      either on immigration parole or another type of release

6      mechanism that ICE or Border Patrol has.

7                   Does that make sense?

8            A      Yes, it makes sense.

9            Q      Okay.    Does the Florida Department of

10     Corrections have any information about whether any of

11     its non-citizen inmates are applicants for admission who

12     are released on parole or another type of immigration

13     release mechanism?

14           A      The Florida Department of Corrections does not

15     track or collect that information as to who the federal

16     government releases.         Once they have a detainer in

17     place, these inmates are turned over to the Department

18     of Immigration and Customs Enforcement at the completion

19     of their Florida Department of Corrections sentence.              We

20     have no further information for those inmates.

21           Q      The citizenship and immigration status that

22     you have on inmates, how is that information stored?

23           A      The information that we receive on any of our

24     inmates, whether they are citizens or otherwise, is

25     electronically stored and maintained in our Offender

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